108 F.3d 1390
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Mark WOOD, Petitioner,v.DEPARTMENT OF TREASURY, Respondent.
    No. 96-3330.
    United States Court of Appeals, Federal Circuit.
    Feb. 04, 1997.
    MSPB
    
      1
      APPEAL DISMISSED.
    
    ORDER
    
      2
      Petitioner having failed to file a response to the court's inquiry of September 11, 1996,
    
    
      3
      IT IS ORDERED THAT;
    
    
      4
      The appeal is DISMISSED for failure to prosecute.
    
    